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JUL 10 2019

Revd___Filed____ Tim
STEPHEN W. KENYON
CLERK, DISTRICT OF IDAHO

UNITED STATES DISTRICT COURT

 

 

FOR THE DISTRICT OF IDAHO
UNITED STATES OF AMERICA,
Case No. 1:18-CR-00401-EJL
Plaintiff,
SECOND SUPERSEDING INDICTMENT
VS.
21 U.S.C. § 841(a)(1) and (b)(1)(A)
DAVID PAUL ROBERTS, 21 U.S.C. § 841(a)(1) and (b)(1)(B)
STEVEN TODD THOMPSON, 21 U.S.C. § 841 (a)(1) and (b)(1)(C)
COLT MURDOCK SPENCER, 21 U.S.C. § 846
TIMOTHY PATRICK HIGDEM, 21 U.S.C. § 853
ECHO MARIE DALOS,
CRYSTAL SUE COX,
AMANDA RACHELLE SMITH,
Defendants.
The Grand Jury charges:
COUNT ONE

Conspiracy to Distribute Methamphetamine

21 U.S.C. §§ 841(a)(1), (b)(1)(C), and 846,

Between February 1, 2017, and continuing thereafter until March 4, 2019, in the Districts

of Idaho and Nevada, and the Central and Southern Districts of California, the defendants,

SECOND SUPERSEDING INDICTMENT - 1

 
DAVID PAUL ROBERTS, STEVEN TODD THOMPSON, COLT MURDOCK SPENCER,
TIMOTHY PATRICK HIGDEM, ECHO MARIE DALOS, CRYSTAL SUE COX, and
AMANDA RACHELLE SMITH, knowingly and intentionally conspired and agreed, to commit
the following offense against the United States: to distribute a mixture and substance containing
a detectable amount of methamphetamine, a Schedule II controlled substance, in violation of
Title 21, United States Code, Sections 841(a)(1), (b)(1)(C), and 846.

COUNT TWO

Possession of Methamphetamine with the Intent to Distribute
21 U.S.C. § 841(a)(1) and (b)(1)(A)

On or about December 10, 2018, in the District of Idaho, the defendant, DAVID PAUL
ROBERTS, knowingly and intentionally possessed with intent to distribute five hundred grams
or more of a mixture and substance containing a detectable amount of methamphetamine, a
Schedule II controlled substance, in violation of Title 21, United States Code, Section 841(a)(1)
and (b)(1)(A).

COUNT THREE

Distribution of Methamphetamine
21 U.S.C. § 841(a)(1) and (b)(1)(A)

On or between August 1, 2018, and August 28, 2018, in the District of Idaho, the
defendant, DAVID PAUL ROBERTS, knowingly and intentionally distributed fifty grams or
more of actual methamphetamine, a Schedule II controlled substance, in violation of Title 21,

United States Code, Section 841(a)(1) and (b)(1)(A).

SECOND SUPERSEDING INDICTMENT - 2

 
COUNT FOUR

‘Distribution of Methamphetamine
21 U.S.C. § 841(a)(1) and (b)(1)(C)

On or about May 3, 2018, in the District of Idaho, the defendant, TIMOTHY PATRICK
HIGDEM, knowingly and intentionally distributed a mixture and substance containing a
detectable amount of methamphetamine, a Schedule II controlled substance, in violation of Title
21, United States Code, Section 841(a)(1) and (b)(1)(C).

COUNT FIVE

Distribution of Methamphetamine
21 U.S.C. § 841(a)(1) and (b)(1)(C)

On or about October 2, 2018, in the District of Idaho, the defendant, ECHO MARIE
DALOS, knowingly and intentionally distributed a mixture and substance containing a detectable
amount of methamphetamine, a Schedule II controlled substance, in violation of Title 21, United
States Code, Section 841(a)(1) and (b)(1)(C).

‘COUNT SIX

Possession of Methamphetamine with the Intent to Distribute
21 U.S.C. § 841(a)(1) and (b)(1)(B)

On or about December 10, 2018, in the District of Idaho, the defendant, STEVEN TODD
THOMPSON, knowingly and intentionally possessed with intent to distribute five grams or more
of actual methamphetamine, a Schedule II controlled substance, in violation of Title 21, United

States Code, Section 841(a)(1) and (b)(1)(B).

SECOND SUPERSEDING INDICTMENT - 3

 
CRIMINAL FORFEITURE ALLEGATION

Drug Forfeiture
21 U.S.C. § 853

Upon conviction of the offenses alleged in Counts One through Six of this Second
Superseding Indictment, the defendants, DAVID PAUL ROBERTS, STEVEN TODD
THOMPSON, COLT MURDOCK SPENCER, TIMOTHY PATRICK HIGDEM, ECHO
MARIE DALOS, CRYSTAL SUE COX, and AMANDA RACHELLE SMITH, shall forfeit to
the United States any and all property, real and personal, tangible and intangible, consisting of or
derived from any proceeds the defendants obtained directly or indirectly as a result of the
foregoing drug offenses; and any and all property, real and personal, tangible and intangible,
used or intended to be used, in any manner or part, to commit, or to facilitate the commission of,
the foregoing offenses including but not limited to the following:

1. Seized Property: $6,500 seized at 304 Van Buren Street, in Twin Falls, Idaho, on

. December 10, 2018,

2. Unrecovered Cash Proceeds: At least $20,000 in United States currency and all
interest and proceeds traceable thereto, in that such sum in aggregate is property
which constituted proceeds of the charged offenses, property involved in or

| facilitating such offenses, or was received in exchange for the distribution of
controlled substances, and was subsequently expended, spent, distributed or otherwise
disposed of by the defendants.

Substitute Assets

Pursuant to 21 U.S.C. § 853 and other applicable statutes, the government will seek

forfeiture of substitute assets, “or any other property of the defendant” up to the value of the

SECOND SUPERSEDING INDICTMENT -4

 
defendants’ assets subject to forfeiture. The government will do so when the property subject to

forfeiture cannot be forfeited for one or more of the following reasons:

a. Cannot be located upon the exercise of due diligence;

b. Has been transferred or sold to, or deposited with, a third person;

C. Has been placed beyond the jurisdiction of the court;

d. Has been substantially diminished in value; or

€. Has been commingled with other property which cannot be subdivided

without difficulty.

Dated this 9th day of July, 2019.

A TRUE BILL

/s/ [signature on reverse]

 

- FOREPERSON

BARTM.DAVIS |
UNITED STATES ATTORNEY
By:

Pen,

 

CHRISTOPHER S. ATWOOD
ASSISTANT UNITED STATES ATTORNEY

SECOND SUPERSEDING INDICTMENT - 5

 
